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                                UNITED STATES DISTRICT COURT
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                                    DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,                          Case No. 3:18-cr-00043-LRH-WGC
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                   Plaintiff,
13                                                      ORDER APPROVING
            v.                                          STIPULATION TO CONTINUE
14                                                      REVOCATION HEARING
     TERRY J. HANSON, JR.,
15                                                      (FIRST REQUEST)
                   Defendant.
16
17
            IT IS HEREBY STIPULATED AND AGREED by and through RENE L.
18
19   VALLADARES, Federal Public Defender and KATE BERRY, Assistant Federal Public

20   Defender, counsel for TERRY J. HANSON, JR. and NICHOLAS A. TRUTANICH, United
21   States Attorney, and MEGAN RACHOW, Assistant United States Attorney, counsel for the
22
     UNITED STATES OF AMERICA, that the Revocation of Supervised Release hearing set for
23
     October 22, 2020, at 11:00 AM, be vacated and continued to November 9, 2020, at 1:30 PM.
24
25          ///

26          ///
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 2           This Stipulation is entered into for the following reasons:
 3
             Mr. Hanson is scheduled to appear before this court for a Revocation Hearing on
 4
     October 22, 2020, at 11:00 AM. Undersigned counsel request that this matter be continued to
 5
 6   November 9, 2020, at 1:30 PM, to allow the parties to continue negotiations toward a resolution

 7   of this matter.
 8           1.        Failure to grant this extension of time would deprive the defendant continuity
 9   of counsel and the effective assistance of counsel.
10           2.        Mr. Hanson is currently detained.
11           3.        The parties agree to the continuance.
12           4.        This is the first request for a continuance.
13           DATED this 15th day of October, 2020.
14
         RENE L. VALLADARES                                    NICHOLAS A. TRUTANICH
15       Federal Public Defender                               United States Attorney
16
      By /s/ Kate Berry                .                  By    /s/ Megan Rachow                .
17       KATE BERRY                                            MEGAN RACHOW
         Assistant Federal Public Defender                     Assistant United States Attorney
18       Counsel for                                           Counsel for the Government
         TERRY J. HANSON, JR.
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        Case 3:18-cr-00043-LRH-WGC Document 63 Filed 10/16/20 Page 3 of 3




 1                                           ORDER
 2         Based on the Stipulation of counsel, and good cause appearing,
 3         IT IS THEREFORE ORDERED that the Revocation Hearing currently set for
 4
     October 22, 2020, at 11:00 AM, be vacated and continued to November 9, 2020, at 1:30 PM.
 5
                                                       This is good LRH signature

 6
           DATED this 15th day of October, 2020.
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                                               UNITED STATES DISTRICT JUDGE
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